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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                    10/15/2020
UNITED STATES OF AMERICA,

                         -against-
                                                                            ORDER
                                                                         18-CR-873 (VSB)
RUBEN MORCIGLIO,

                                     Defendant.


VERNON S. BRODERICK, United States District Judge:

        Sentencing is scheduled in this matter for October 16, 2020 at 10:00 a.m. Counsel for the

defendant is directed to advise him, that for the foreseeable future, the Metropolitan Correctional

Center (“MCC”) or the Metropolitan Detention Center (“MDC”) may require that any inmate

appearing in court be quarantined for 14 days upon returning from their appearance.

        Per the SDNY COVID-19 COURTHOUSE ENTRY PROGRAM, anyone who appears at

any SDNY courthouse must complete a questionnaire and have their temperature taken. Please

see the instructions, attached. Completing the questionnaire ahead of time will save time and

effort upon entry. Only those individuals who meet the entry requirements established by the

questionnaire will be permitted entry.

        In addition, all parties must wear a mask or face shield upon entry into the courthouse,

and during any proceeding in the courthouse. There will also be assigned seating during the

proceeding. Please contact chambers if you do not meet the requirements.

        Members of the public, and press may use 1-888-363-4749; access code: 2682448 to

listen to the hearing.

SO ORDERED.
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Dated:   October 15, 2020
         New York, New York

                                                      ______________________
                                                      Vernon S. Broderick
                                                      United States District Judge
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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.
